Order Form (01/2005)
                       Case: 3:11-cv-50305 Document #: 11 Filed: 11/09/11 Page 1 of 3 PageID #:18

                              United States District Court, Northern District of Illinois

     Name of Assigned Judge          Philip G. Reinhard        Sitting Judge if Other
        or Magistrate Judge                                     than Assigned Judge

   CASE NUMBER                          11 C 50305                         DATE                      11/9/2011
            CASE                            Roswold-Zawada v. American Coradius International, LLC
            TITLE

  DOCKET ENTRY TEXT:

  Pursuant to plaintiff’s notice of dismissal [10], this case is dismissed without prejudice. Any pending
  motions are now moot.




                                                                                                                    Electronic Notices.
                                                                                                              Copy to Magistrate Judge.




                                                                                        Courtroom Deputy                  JT
                                                                                                  Initials:




                                                                                                                               Page 1 of 1
Order Form (01/2005)
                       Case: 3:11-cv-50305 Document #: 11 Filed: 11/09/11 Page 2 of 3 PageID #:19

                              United States District Court, Northern District of Illinois

     Name of Assigned Judge          Philip G. Reinhard        Sitting Judge if Other
        or Magistrate Judge                                     than Assigned Judge

   CASE NUMBER                          11 C 50305                         DATE                      11/9/2011
            CASE                            Roswold-Zawada v. American Coradius International, LLC
            TITLE

  DOCKET ENTRY TEXT:

  Pursuant to plaintiff’s notice of dismissal [10], this case is dismissed without prejudice. Any pending
  motions are now moot.




                                                                                                                    Electronic Notices.
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Order Form (01/2005)
                       Case: 3:11-cv-50305 Document #: 11 Filed: 11/09/11 Page 3 of 3 PageID #:20

                              United States District Court, Northern District of Illinois

     Name of Assigned Judge          Philip G. Reinhard        Sitting Judge if Other
        or Magistrate Judge                                     than Assigned Judge

   CASE NUMBER                          11 C 50305                         DATE                      11/9/2011
            CASE                            Roswold-Zawada v. American Coradius International, LLC
            TITLE

  DOCKET ENTRY TEXT:

  Pursuant to plaintiff’s notice of dismissal [10], this case is dismissed without prejudice. Any pending
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                                                                                                                    Electronic Notices.
                                                                                                              Copy to Magistrate Judge.




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